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Admissions and Financial Aid at Harvard College




For Discussion

February 2013




Office of Institutional Research                                                                   HARV00031687
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Introduction                  Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 3 of 44   PRELIMINARY DRAFT




• Nationally, there has long been interest in issues surrounding college access and affordability. In
  the last decade, the conversation has expanded to focus on college outcomes and achievement.
  Harvard College has a long tradition of promoting these goals.

• In order to signal its commitment to these goals, Harvard has made a series of public changes that
  a mplify the scrutiny and attention already paid to its admissions and financial aid practices. These
  i nclude:

     • The recent reintroduction of early action admissions

     • Financial aid initiatives aimed at improving the affordability for most US families

• Externally, many continue to raise questions about Harvard's commitment to access and
  achievement.

• Internally, we are concerned about the effects of public and non-public changes on our ability to
  recruit students to Harvard, their experience at Harvard, and whether our investments are
  financially sustainable.




                                                                                                    HARV00031688
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Recent admissions and financial aid questions raised
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 Part I: Access

      1. What is the effect on our applicant pool and yield of reintroducing early
         action?
      2. Is the shift in the gender balance at Harvard College due to increased interest
         and recruitment for SEAS?
      3. Does the admissions process disadvantage Asians?


 Part II: Affordability
      4. What is the effect of our financial aid policies on our applicant pools and
         yields?
      S. How affordable is Harvard to the "typical" family?
      6. How much growth in the aid budget can the FAS sustain?


 Part Ill: Achievement
      7. How can we measure achievement among Harvard College graduates?
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Today's Goals                Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 5 of 44   PRELIMINARY DRAFT   4




    • Review OIR work related to Part I: Access

    • Discuss next steps

    • Clarify priorities and timing

    • Discuss additional data needed




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     Part I: Access

                      A first look at the return of early action

                      Shift in the gender balance and impact of concentration choice

                      Evaluating factors that play a role in Harvard College admission

     Appendix: Data Tables




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     Part I: Access

                      A first look at the return of early action

                      Shift in the gender balance and impact of concentration choice

                      Evaluating factors that play a role in Harvard College admission

     Appendix: Data Tables




                                                                                                   HARV00031692
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Guiding questions             Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 8 of 44   PRELIMINARY DRAFT   7



  How do early action pools at Harvard compare to the regular action pools for the class
  of 2016 and the classes of 2007-2011?

  How do the two early action pools compare to each other?

  What is the relationship between early action and yield rates?

  How much can we learn from only one admissions cycle with early action back in
  place?




                                                                                                    HARV00031693
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 Review of findings from Fall 2010 early action analysis
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• Yield rates for the most highly rated Hispanic, Black and White students declined after the end of early action.
• Yield rates for all Hispanic and White students declined after the end of early action.



                                                        Yield Rates by Race Ethnicity, Fall 2003 to Fall 2010
                Students with High Academic and
                     Extracurricular Ratings                                                                                        All Students
        90.0%                                                                                                         90.0%


        85.0% -                                                                                                       85.0%
                                _____--------
                                            4
                                                                          Number of Admits
                                                                                                                                 tc-----A
                       A-------
        80.0% -                                                                                                       80.0%   79.1%
                                                                          High              All                                 • -...
                                                                         Ratings          Admits                                          -......._____*
                     73.7%
        75.0% -                                         -A- Asian         2,033           3,131      -A- As i a n     75.0%
                                                                                                                               71.3%              76.1%
                                                        -4-White          3,462           7,432      -+- White
        70.0% -                                         -X- His pa nic    411             1,581                       70.0%
                                                                                                     -X- His pa nic
                     65.0%                                                253             1,769
                                                        -s- BI a ck                                  -s- BI a ck
        65.0% -                                                                                                       65.0%

                                                                Ethnicities with statistically significant                                        64.1%
        60.0% -                                                      changes marked in crimson                        60.0%


        55.0% -                                                                                                       55.0%

                                                51.3%
        50.0%                                                                                                         50.0%
                    2003-2007        2008-2010                                                                                2003-2007        2008-2010


 URM Yield
                     64.5%             54.5%                                                                                   69.6%             65.2%
     Rate




                                                                                                                                             HARV00031694
Source: OfficeHM1Agiaril§daleciMiiWid
"High" rating indicates a rating of 1 or 2.
The new early applicant  pools are smaller than prior early applicant pools in relative terms
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                                                 Early Applicants as a Proportion of the Applicant Pool, by Class
                  40% -


                  35%


                  30%


                  25%


                  20%


                  15% —


                  10%


                    5%


                   0%
                            2007        2008       2009        2010     2011         2012    2013     2014     2015         2016     2017

      Total Applicants     20,987       19,752    22,796       22,754   22,955      27,462   29,114   30,489   34,950      34,303    35,022

      Early Applicants     7,614        3,889      4,214       3,869    4,008                                              4,228     4,856


                        Students
                      permitted to          Return to
                                                                                EA program                            Return of EA
                    apply to multiple       single-choice EA
                                                                                   ends                                 program
                     EA schools and         program
                     one ED school



Source: Office of Admissions
Application from previous admits counted in total applicants.
                                                                                                                          HAR V00031695
The class of 2(nrnyi8Atiefax
               ;
               1 17          XediVeVac,Wlismed students to participate in multiple early action programs in addition to one eariy
decision program.
Compared to regular applicant pool, new and old early action pools look similar
                 Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 11 of 44                                                       101


                                                                 •2016     2007-2011


                                                                                                                     .6*
              Female                                                         Parent(s) No College


     African American                                                                                         *
                                                 *                       Parent(s) Harvard Grad


                Asian                                                    Parent(s)College Degree


            Caucasian                                                                Fee Waiver


             Hispanic                                                                Academic 1


         International                    Er:
                                            i                                        Academic 2


      Native American                                                                Academic 3


       Other Ethnicity                                                               Academic 4


    Unknown Ethnicity                                                                Academic 5
                                                                                                                     4

                     -10%       -5%       0%      5%       10%                                  -20% -15% -10% -5%   0%   5%   10%

                         More in early         More in regular                                      More in early         More in regular
                         applicant pool        applicant pool                                       applicant pool        applicant pool




                                                                                                                           HAR V00031696
*Significant differexice_o<0
              migniy rmaenual001
                             - mitorney's Eyes Only
The bars in these graphs represent differences for these years of early action as compared to the regular action pool. See Appendix.
The 2016 early action pool is more diverse than old early action pools
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                                                      Demographic Differences Between Early Applicant Pools

                           African American*

                               International*

                                 Fee Waiver*

                                    Hispanic*

                                 Academic 5*

                                 Academic 4*

                                  Academic 2

                             Native American

                                  Academic 1

                      Unknown Race/Ethnicity

                          Other Race/Ethncity

                                      Female

                                      Asian*

                                  Caucasian*

                                 Academic 3*

                                                -6%        -4%       -2%        0%         2%         4%      6%
                                                                  Old Early             2016 Early
                                                                  Action Pool           Action Pool



*Significant difference p<0.001
                                                                                                                   HAR V00031697
Figures in theFfiklaMavgaPrAtAfgAtifece6wifs between the two early action pools. See Appendix.
Early action was not in place for the classes of 2012-2015.
Yield rates are higher
                    Case
                          early action years
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                                                        Yield Rates by Applicant Type

                          100% -

                           95%


                            90%


                           85%


                            80%
                                                                                                                    S   Early
                            75%                                                                                         Overall

                                                                                                                   —0—Regular
                            70%


                            65%

                            60%


                            55%


                            50%
                                   2007    2008    2009     2010   2011    2012     2013    2014    2015    2016




Early admissions was not in effect for the classes of 2012-2015.                                                                HARV00031698
Previous admlitat1;11)Igivofirlepresetitftretffra*Mttportion of the overall applicant pool, are excluded.
High admissions ratings sub-groups in 2016 appear to have higher yield rates than before
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                                             Change in Yield Rates Between Classes of2016 and 2012-2015
                            African American and High Ratings*
                                      Hispanic and High Ratings
                                             African American*
                                       W hite and High Ratings*
                                        Male and High Ratings*
                     High Academic and Extracurricular Ratings*
                                                        White*
                                                        Asian*
                                                         Male*
                          At least one parent attended college*
                                      Female and High Ratings*
                                                      Average*
                                                       Female*
                                                        Legacy
                                                       Hispanic
                                               First Generation
                                         Asian and High Ratings
                                                    Fee Waiver
                                 International and High Ratings                •
                                                                                                 Average Increase in
                                                  International
                                                                                                 Yield Rate: 4.14%
                                             Regular applicant*

                                                                  -10%   -5%   0%       5%         10%       15%       20%




High ratings defined as having 1 or 2 for both academic and extracurricular admissions ratings
                                                                                                                       HAR V00031699
2016 yield ratQhfP6MAXAMMAROcRigi7 933%
*Significant difference p<0.05
Profile of Class of 2016:  Small Demographic Shifts
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        Race/Ethnicity of Matriculants, by Class
                                                                                                 Fee Waiver Status of Matriculants, by Class
100%                                                                                     25% -
90%
80%                                                                                      20%
                                                                     •International
70%
                                                                     H White
60%                                                                                      15%
                                                                       Asian
50%
                                                                       Unknown/Other                                                                                            Fee Waiver
40%                                                                                      10% —
                                                                       Hispanic
30%
20%                                                                  •African American
                                                                                          5%
10%                                                                  •Native American

 0%                                                                                       0%
       N      00        al   0                 en                                                N     00      Cn       0         c-1    N      rn            in
       0      0         0    c-1         t-I   T-1                                                             0                  c-1           c-1           c-1
       0      0         0    0           0     0      0    0                                     0     0
                                                                                                 o     0       0        0         0      0      0        0    0      0
                                                                                                  N    CV      CV       CV        eV     CV     CV       CV   N




               URM Status of Matriculants, by Class                                            Parent Education of Matriculants, by Class
25%                                                                                      25% —


20%                                                                                      20%


                                                                                         15%
15%
                                                                                                                                                                           Legacy
                                                                               — URM     10%
                                                                                                                                                                           First Generation
10% —

                                                                                         5%
5%

                                                                                         0%                             I                       I
                                                                                                 N.   00    C:11    0               NI    01        cr   in   4.0
0%                                                                                               0    0     0               r-1           r-I                 c-1
                                                                                                 0    0     0       0       0       0     0         o    o    o
                   00                                re)         ▪    ‘o                         N    N     N       N        N      N     N         N
                                                                                                                                                                    HARV00031700
                                                           0     0    0
        rsi    (
               &)rlighl      onfidential attorney's Eyes Onlp,
Summary of findings: Early action analysis
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  How do early action applications at Harvard compare to regular action applicants?
  Are patterns similar for the class of 2016 and the classes of 2007-2011?
  • Both early action populations look demographically similar to one another,
    compared to the regular action populations. Compared to regular action, early
    action applicants have higher academic ratings, and include more male, Caucasian
    a nd Asian applicants.

  Are there any noticeable differences in the two early action populations?
  • The new early action applicants appear to be more diverse than the previous early
    action population, with higher percentages of African American, Hispanic, and
    I nternational students.

  What is the relationship between early action and yield rates?
  • Yield rates are higher for early action applicants.
  • African American and Hispanic applicants with high admissions ratings appear in this
    2016 year to have had the largest increase in yield rates.

  How much can we learn from only one year of having early action back in place?
  • Not enough to be statistically confident in trends — it is worth revisiting the data
    a nnually, particularly in light small demographic shifts in the matriculating class of
    2016.                                                                          HARV00031701
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     Part I: Access

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                      Shift in the gender balance and impact of concentration choice

                      Evaluating factors that play a role in Harvard College admission

     Appendix: Data Tables




                                                                                                   HARV00031702
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     Part I: Access

                      A first look at the return of early action

                      Shift in the gender balance and impact of concentration choice

                      Evaluating factors that play a role in Harvard College admission

     Appendix: Data Tables




                                                                                                   HARV00031717
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Methods                    Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 33 of 44                  32




   Goal:          Using various admissions ratings, how well can we approximate admit
                  rates by race/ethnicity and the demographic composition of the
                  admitted students pool?

   Strategy:
       • Fit a series of basic logistic regression models using data from classes of
          2007-2016.

          • Generate fitted probabilities of admissions - given an applicant's
            characteristics how likely are they to be admitted (0-1)?

          • For each class, select the 2100 applicants with the highest probability of
            admissions as our simulated admitted class.

          • Examine resulting demographics and admit rates by ethnicity.

   Notes:
       • Students with no academic index are excluded from this analysis.

          • The following analysis is preliminary and for discussion.
                                                                                                  HARV00031718
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Models Used                 Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 34 of 44                            PRELIMINARY DRAFT   7

            Model 1: Academic only                Model 2: Add Legacy and     Model 3: Add Personal and   Model 4: Add Demographics
                                                         Athlete                    Extracurricular
        Academic Index                         Academic Index               Academic Index                Academic Index
        Academic Rating                        Academic Rating              Academic Rating               Academic Rating
                                               Legacy                       Legacy                        Legacy
                                               Athlete                      Athlete                       Athlete
                                                                            Personal Rating               Personal Rating
                                                                            Extracurricular Rating        Extracurricular Rating
                                                                                                          Gender
                                                                                                          Ethnicity




                                                                                                                             HARV00031 719
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                    Student
 Projected AdmittedCase        Pools
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                                                                                                                     PRELIMINARY DRAFT        34




            100% -
                                                        6%                   7%
             90%
                                                                          i
                                                                          l trz=1                           9%
                                                        10%                                     8%
             80%                                                             9%
                                                                                               11%
             70%
                                                                                                8%
                                                        31%                  26%                                         _I Native American
             60%
                                                                                                                        •Hispanic
             50%                                                                             Ca                            International

                                                                                                                         •African American
             40%
                                                                                                                         •Unknown
             30%
                                                                             51%                                         •Asian
                                                        48%                                    44%
             20%              38%                                                                                        •White

             10%

              0%
                            Model 1                    Model 2             Model 3            Model 4      Actual

                        Academics Only          Legacy and Athlete    Extracurricular and   Demographics
                                                                           Personal


                      Academics Only          Legacy and Athlete     Extracurricular and    Demographics
                                                                          Personal
                           Model 1                     Model 2             Model 3            Model 4      Actual
Asian                      43.04%                      31.40%              25.99%             17.97%       18.66%
African American           0.67%                       1.83%                2.36%             11.12%       10.46%
I nternational             7.27%                       5.86%                7.39%              7.68%       8.90%
Hispanic                    2.42%                      2.62%                4.07%              9.83%        9.46%
N ative American           0.21%                       0.32%                0.41%              1.21%        1.23%
Unknown                     8.02%                      9.93%               9.14%               8.11%       8.09%
                                                                                                                      HARV00031720
White                                                  48.03%              50.63%              44.08%      43.21%
              Highly (Innfirlpin43Arnpiy's FyPc only
 Projected Admit Rates
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            20%

            18%

            16%

            14%
                                                                                                                          -U-Asian
                                                                                                              O-
                                                                                                              m             IN-African American
                                                                                                              NI
                                                                                                                               International
                                                                                                              I
                                                                                                                          -E-Hispanic
                                                                                                              •
                                                                                                                          -a-Native American

                                                                                                                          -E-Unknown

                                                                                                                          - U-White




                             Model 1                       Model 2          Model 3            Model 4       Actual

                        Academics Only            Legacy and Athlete   Extracurricular and   Demographics
                                                                            Personal


                                                                       Extracurricular and
                       Academics Only             Legacy and Athlete                          Demographics
                                                                            Personal
                            Model 1                        Model 2           Model 3             Model 4       Actual
Asian                       17.35%                         12.66%            10.48%               7.24%        7.63%
African American             0.75%                          2.07%             2.67%              12.59%        12.00%
I nternational               5.13%                         4.14%              5.22%              5.42%         6.37%
Hispanic                     2.34%                         2.53%              3.94%              9.51%         9.27%
N ative American             1.97%                         2.98%              3.81%              11.17%        11.43%
Unknown                      9.45%                         11.70%             10.77%             9.56%         9.67%
White                        9.43%                         11.81%             12.45%             10.84%        10.77%    HARV00031 721
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What have we learned?
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   • Once we account for ratings and demographic factors, we can closely predict what the
     admitted class wil l look like.

   • With current data, we explain a significant amount of the variation in admission, but further
     details (especially around the personal rating) may provide further insight.

   • There are a variety of factors that quantitative data is likely to miss or ratings do not capture.
     We'd like to better understand:

        • Exceptional talent (music, art, writing)

        • The role of context cases

        • The role of the personal statement/essay

        • Measures of socio-economic status (HFAI Flag, Low Income Flag)




                                                                                                     HAP V00031722
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Next steps                  Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 38 of 44   PRELIMINARY DRAFT   37




  • Determining priorities, timing, and audiences
       • Should this work be shared with additional audiences (e.g. President Faust,
         Dean Smith, Dean Hammonds)?
       • What are your priorities?
  • The Finance Committee has expressed interest in a number of questions related
    to Harvard's affordability initiatives.




                                                                                                   HARV00031723
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Next Steps: Addressing  questions raised about admissions and financial aid
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  Research Question                                                            Next Steps

  Part I: Access

          1.    What is the effect on our applicant pool and yield of          • Who else should see this work?
                reintroducing early action?                                    • To further address the question of bias, is
                                                                                 there more data to elaborate our
          2.    Is the shift in the gender balance at Harvard College due to     understanding of the role of the personal
                increased interest and recruitment for SEAS?
                                                                                 essay and other factors?
          3.    Is there bias against Asians in college admissions?



  Part II: Affordability

          4.    What is the effect of our financial aid policies on our
                                                                               • These questions were raised by the Finance
                applicant pools and yields?                                      Committee of the Corporation.
                                                                               • How do we think about affordability in the
          5.    How affordable is Harvard to the "typical" family?               current budget climate?
          6.    How much growth in the aid budget can the FAS sustain?
                                                                               • Who are the audiences, beyond the
                                                                                 Corporation?


  Part Ill: Achievement

          7.    How can we measure achievement among Harvard College           • OIR has gathered a variety of options for
                graduates?                                                       outcomes including National Student
                                                                                 Clearinghouse data, AA&D data, and student
                                                                                 surveys.
                                                                               • How would you prioritize this question
                                                                                 relative to others?             HARV00031724
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     Part I: Access

                      A first look at the return of early action

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                      Evaluating factors that play a role in Harvard College admission

     Appendix: Data Tables




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Compared to regular applicant
                 Case           pool, new
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                                           and old early action pools look similar
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                                                              2007-2011                                                    2016
                                              Early Action    Regular           Total           Early Action    Regular           Total
         Gender
         Female                                       49.0%             50.6%           50.2%           47.4%             48.5%           48.3%
         Male                                         51.0%             49.4%           49.8%           52.6%             51.5%           51.7%


         Parent Education
         Some College                                 85.1%             84.1%           84.3%           83.7%             85.0%           84.8%
         Harvard Grad                                  7.1%              2.1%            3.2%            8.1%              1.7%            2.5%
         No College                                    7.8%             13.8%           12.5%            8.2%             13.3%           12.7%


         Race Ethnicity
                                                                                                         8.9%              9.9%            9.8%
         African American                              4.7%              8.4%            7.6%
         Asian                                        24.2%             20.5%           21.3%           21.4%             20.3%           20.4%
         Hispanic                                      6.5%              9.4%            8.8%            9.0%             10.3%           10.1%
         I nternational                               11.3%             16.0%           15.0%           14.0%             19.1%           18.5%
         Native American                               0.8%              1.1%            1.0%            1.1%              1.0%            1.0%
         Other                                         0.9%              1.5%            1.3%            0.0%              0.0%            0.0%
         Unknown                                       7.7%              7.4%            7.4%            7.0%              7.2%            7.2%
         White                                        43.9%             35.8%           37.5%           38.7%             32.2%           33.0%


          Academic Rating
          Academic 1                                   2.1%              0.5%            0.8%            1.6%              0.3%            0.5%
          Academic 2                                  48.1%             31.2%           35.0%           49.8%             38.1%           39.6%
          Academic 3                                  41.3%             48.9%           47.2%           35.9%             41.1%           40.4%
          Academic 4                                   7.6%             15.8%           14.0%            9.6%             14.5%           13.9%
          Academic 5                                   0.9%              3.6%            3.0%            3.1%              6.0%            5.6%


          Fee Waiver
          No                                          95.2%             88.9%           90.3%           92.7%             87.6%           88.2%
          Yes                                          4.8%             11.1%            9.7%            7.3%             12.4%           11.8%
                                                                                                                                     HARV00031726
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2016 early action pool
                   Caseis more diverse than
                        1:14-cv-14176-ADB
                                               old early action pools
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                                                                                                PRELIMINARY DRAFT   41



                                                                  2007-2011   2016     All
                                         Gender
                                         Female                       49.0%    47.4%    48.7%
                                         Male                         51.0%    52.6%    51.3%


                                         Parent Education
                                         Some College                 85.1%    83.7%    84.9%
                                         Harvard Grad                  7.1%     8.1%     7.2%
                                         No College                    7.8%     8.2%     7.9%


                                         Race Ethnicity
                                         African American              4.7%     8.9%     5.4%
                                         Asian                        24.2%    21.4%    23.7%
                                         Hispanic                      6.5%     9.0%     6.9%
                                         I nternational               11.3%    14.0%    11.7%
                                         N ative American              0.8%     1.1%     0.8%
                                         Other Race/Ethnicity          0.9%     0.0%     0.8%
                                         Unknown Race/Ethnicity        7.7%     7.0%     7.6%
                                          White                       43.9%    38.7%    43.1%


                                          Academic Rating
                                          Academic 1                   2.1%     1.6%     2.0%
                                          Academic 2                  48.1%    49.8%    48.3%
                                          Academic 3                  41.3%    35.9%    40.5%
                                          Academic 4                   7.6%     9.6%     7.9%
                                          Academic 5                   0.9%     3.1%     1.2%


                                          Fee Waiver
                                          No                          95.2%    92.7%    94.8%
                                          Yes                          4.8%     7.3%     5.2%
                                                                                                 HARV00031727
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Model Fit                    Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 43 of 44
                                                                                                            PRELIMINARY DRAFT   42




                                                                Admit Rates
                                                                  Model 4         Actual     Difference
                                            Asian                     7.24%          7.63%        -0.39%
                                            African American         12.59%         12.00%         0.59%
                                            I nternational            5.42%          6.37%        -0.95%
                                            Hispanic                   9.51%         9.27%         0.23%
                                            Native American           11.17%        11.43%        -0.26%
                                            Unknown                    9.56%         9.67%        -0.12%
                                            White                     10.84%        10.77%         0.06%


                                                               Entering Classes
                                                                   Model 4        Actual   Difference
                                            Asian                     17.97%        18.66%       -0.69%
                                            African American          11.12%        10.46%        0.66%
                                            I nternational              7.68%        8.90%       -1.22%
                                            Hispanic                    9.83%        9.46%          0.37%
                                            N ative American            1.21%        1.23%         -0.02%
                                            Unknown                    8.11%         8.09%          0.02%
                                            White                     44.08%        43.21%         0.87%




                                                                                                             HARV00031728
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Model Fit                     Case 1:14-cv-14176-ADB Document 421-134 Filed 06/15/18 Page 44 of 44                              PRELIMINARY DRAFT   713




                                                            Difference in Projected vs. Actual Admit Rate
                                 2007         2008       2009     2010       2011      2012       2013        2014      2015      2016
             Asian            0.002412 0.004282 0.002479 0.005113 0.012497 0.007495 0.004567 0.002473 0.000407 0.000752
             African Ar 0.019531 -0.00496 -0.00075 0.003436 -0.01049 -0.01558 -0.00816 -0.01232 0.000682 -0.01331
              I nternatio 0.015547 0.014264 0.010059 0.009594 0.002495 0.014182 0.011458 0.009821 0.006937 0.006522
             Hispanic         0.003422 0.002778 -0.01048        -0.0116 -0.00537     -0.0097   0.00521 -0.00038       0.00736 -0.00927
              N ative An 0.037838                  0 -0.00588 -0.01415 0.031674     0.02381 -0.00893 0.009494         -0.0069 -0.02667
              Unknown         -0.00079 -0.00096 -0.00564 -0.00755 -0.00792 0.007795 -0.00067 0.038691 0.011152                  0.00307
             White            -0.01003 -0.00613 -0.00169 0.001581 -0.00476 0.002299 0.002692 0.005373                 0.00121        0


                                                   Difference in Projected vs. Actual Admitted Class Demographics
                                 2007         2008       2009     2010       2011      2012       2013        2014      2015      2016
             Asian             -0.0056     -0.0083    -0.0059    -0.009   -0.0272    -0.0107   -0.0054      0.0023     0.0063   -0.0055
             African Ar          -0.01      0.0023      1E-04   -0.0012    0.0078    0.0176     0.0122      0.0193     0.0037    0.0156
              I nte rnati c    -0.0151     -0.0134    -0.0117   -0.0096   -0.0036    -0.0175    -0.014      -0.0113   -0.0108   -0.0149
             Hispanic          -0.0028      -0.002     0.0078    0.0106    0.0045      0.013   -0.0025      0.0049     -0.007    0.0119
              N ative An       -0.0034     -0.0001     0.0005    0.0016   -0.0034     -0.002    0.0014      -0.0005    0.0015    0.0037
              Unknown          0.0001       0.0004     0.0049    0.0083    0.0069    -0.0056    0.0053      -0.0103   -0.0042   -0.0045
             White             0.0369         0.021    0.0045   -0.0006    0.0148    0.0052     0.0029      -0.0044    0.0106   -0.0063




                                                                                                                                HARV00031729
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